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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

         Plaintiff,
                                                              Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

         Defendant

                              PROPOSED ORDER GRANTING
                            DEFENDANT’S MOTION TO COMPEL

         Defendant ORR Safety Corporation (“ORR”) having filed a Motion to Compel seeking to compel

Plaintiff Ironclad Performance Wear Corporation (“Ironclad”) to produce personnel files for certain

former employees of Ironclad, and the Court having heard the arguments and being otherwise duly

advised,

         IT IS ORDERED that ORR’s Motion to Compel is GRANTED. Ironclad shall produce to ORR

the personnel files of Ed Jaeger, Scott Jarus, Fred Castro, Thomas Kreig, Annie Evans, Jim Rice, Lee

Turlington, Rhonda Hoffarth, and Bryan Griggs within five days of the date of this Order. Ironclad may

produce them as Confidential documents subject to the Agreed Protective Order entered in this case.

Further, Ironclad shall pay ORR its reasonable expenses, including attorneys’ fees, incurred in bringing

this motion. ORR shall provide evidence of its expenses to Ironclad within 10 days of entry of this Order

and Ironclad shall pay such expenses within 10 days of receipt of such evidence.
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Respectfully submitted,

s/ Jennifer Metzger Stinnett
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